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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov


In re:                                              CHAPTER 11
                                                    CASE NO.: 6:15-BK-07275-KSJ
PROGRESSIVE PLUMBING, INC.,
PROGRESSIVE SERVICES, LLC and                 JOINTLY ADMINISTERED WITH
GRACIOUS LIVING DESIGN                        CASE NO.: 6:15-BK-07276-KSJ
CENTER, INC.                                  CASE NO.: 6:15-BK-07277-KSJ
                Debtors.
_________________________________/
KELLOGG & KIMSEY, INC.
a Florida Corporation,
                Plaintiff,

v.                                                  Adv. Case No.: 6:17-ap-00044-KSJ

PROGRESSIVE PLUMBING, INC., a
Florida Corporation, ALLIED WORLD
SPECIALTY INSURANCE COMPANY,
a Foreign Profit Corporation,
                 Defendants,
_________________________________/
PROGRESSIVE PLUMBING, INC.,
                 Counterclaim Plaintiff,

v.

KELLOGG & KIMSEY, INC.,
             Counterclaim Defendant,
__________________________________/
PROGRESSIVE PLUMBING, INC.,
             Cross-Claim Plaintiff,

v.
ALLIED WORLD SPECIALTY
INSURANCE COMPANY
             Cross-Claim Defendant
___________________________________/

              DEFENDANT, PROGRESSIVE PLUMBING, INC.’S EXHIBIT LIST
                            (Trial in Adversary Proceeding)
                           Trial Date: September 24-28, 2018




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Exh.                 Document Description                  Depo        Date         Date          With or
 #                                                         Ex #      Identified   Admitted       Without
                                                                                                 Objection

1.      Construction Contract between K&K          and    Lawson 2
        Progressive dated February 22, 2013

2.      AIA Document 101-1997 Construction Contract       Doughty
        between Ace Hospitality and K&K for the 1800        115
        West End Project
3.      March 18, 2015, Prompt Pay Act Notice of Intent                                              ?
        to Seek Relief sent to K&K
4.      May 5, 2015, Prompt Pay Act Notice of Intent to                                              ?
        Seek Relief sent to K&K
5.      Progressive Change Order #1 to Kellogg & Kimsey
        (K&K024626)
6.      Progressive Change Order #2 to Kellogg & Kimsey
        (K&K024627)
7.      Progressive Change Order #3 to Kellogg & Kimsey
        (K&K024626)
8.      Progressive Change Order #4 to Kellogg & Kimsey
        (K&K000008-K$K000009)
9.      Progressive Change Order #6 to Kellogg & Kimsey   Reed 168
        (Progressive-KK-0013985 – Progressive-KK-
        0013988)
10.     Progressive Change Order #7 to Kellogg & Kimsey
        (Progressive-KK-0014360 – Progressive-KK-
        0014048)
11.     Progressive Change Order #8 to Kellogg & Kimsey
        (Progressive-KK-0014049 – Progressive-KK-
        0014????)
12.     Progressive Change Order #9 to Kellogg & Kimsey
        (Progressive-KK-0014058     –   Progressive-KK-
        0014???)
13.     Progressive Change Order #10 to Kellogg &
        Kimsey (Progressive-KK-0014063 – Progressive-
        KK-0014???)
14.     Progressive Change Order #10R to Kellogg &
        Kimsey (Progressive-KK-0014731 – Progressive-
        KK-0014733)




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15.     Progressive Change Order #11 to Kellogg &
        Kimsey (Progressive-KK-0014730 – Progressive-
        KK-0014???)
16.     Progressive Change Order #12 to Kellogg &
        Kimsey
17.     Progressive Change Order #13 to Kellogg &
        Kimsey
18.     Progressive Change Order #14 to Kellogg &
        Kimsey (K&K023244-K&K023247)
19.     Progressive Change Order #15 to Kellogg &
        Kimsey (K&K023249-K&K023266)
20.     Progressive Change Order #16 to Kellogg &
        Kimsey (K&K023267-K&K023269)
21.     Progressive Change Order #17 to Kellogg &
        Kimsey (K&K023270-K&K023272)
22.     Progressive Change Order #18 to Kellogg &
        Kimsey (K&K023273-K&K023281)
23.     Progressive Change Order #19 to Kellogg &
        Kimsey (K&K023282-K&K023284)
24.     Progressive Change Order #20 to Kellogg &
        Kimsey (K&K023285-K&K023285)
25.     Progressive Change Order #21 to Kellogg &
        Kimsey (K&K023299-K&K023303)
26.     Progressive Change Order #22 to Kellogg &
        Kimsey (K&K023304-K&K023312)
27.     Progressive Change Order #23 to Kellogg &
        Kimsey (K&K023313-K&K023316)
28.     Progressive Change Order #24 to Kellogg &
        Kimsey (K&K023317-K&K023325)
29.     Progressive Change Order #25 to Kellogg &
        Kimsey (K&K023326-K&K023329)
30.     Progressive Change Order #26 to Kellogg &
        Kimsey (K&K023330-K&K023333)
31.     Progressive Change Order #27 to Kellogg &
        Kimsey (K&K023334-K&K023341)


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Exh.                 Document Description                       Depo        Date         Date          With or
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                                                                                                      Objection

32.     Progressive Change Order #28 to Kellogg &
        Kimsey (K&K023342-K&K023344)
33.     Progressive Change Order #29 to Kellogg &
        Kimsey (K&K023345-K&K023347)
34.     Progressive Change Order #30 to Kellogg &
        Kimsey (K&K023348-K&K023350)
35.     Progressive Change Order #31 to Kellogg &
        Kimsey (K&K023351-K&K023353)
36.     Progressive Change Order #32 to Kellogg &
        Kimsey (K&K023354-K&K023356)
37.     Progressive Change Order #33 to Kellogg &
        Kimsey (K&K023357-K&K023359)
38.     Progressive Change Order #34 to Kellogg &
        Kimsey (K&K023360-K&K023365)
39.     Progressive Plumbing’s Pay Application #19            Reed 180
        (Progressive-KK-16875 – Progressive-KK-16888)
40.     Progressive Plumbing’s Pay Application #20
        (Progressive-KK-16890 – Progressive-KK-16901)
41.     Progressive Plumbing’s Pay Application #21
        (Progressive-KK-16903 – Progressive-KK-16915)
42.     Progressive Plumbing’s Pay Application #22
        (Progressive-KK-16917 – Progressive-KK-16929)
43.     Submittal review for P-29 Shower Pan, dated           Peavy 203
        January 21, 2014
44.     June 19, 2013, email chain between Greg               Peavy 205                                 R&H
        Schamberg, Craig Peavy and others re:
        confirmation of dimensions for tubs in SHS and the
        sanitary stack size
45.     Page P4.04 of Plumbing Plans for the Project          Peavy 206


46.     Emails dated November 13-14, 2013, from David          Patel 76                                 R&H
        Reed to Anil Patel and others re: winter conditions
        notice and increased costs associated with same
47.     A K&K Spreadsheet detailing the days on which          Patel 77                                 R&H
        winter conditions existed on the Project
        (ACE01963-ACE01964)


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48.     A March 22, 2014, letter from K&K to Ace              Patel 79                                 R&H
        Hospitality re: summary of combined Project
        delays and attachments to same (ACE1905-
        ACE1915)
49.     Email dated April 2, 2014, from Terry Barker to       Patel 80                                  H
        Greg Schamberg and others re: wall issues
        stemming from inadequate room for plumbing
        risers (attaches a list of affected rooms and an
        invoice) (ACE194-ACE198)
50.     A June 28, 2014, Letter from Marriott to Anil Patel   Patel 81                                 R&H
        re: results of sample room observation on the
        Project (ACE1622-ACE1624)
51.     K&K’s Potential Change Order #078 for added           Patel 82                                 R&H
        general conditions for 25 calendar days (ACE145-
        ACE154)
52.     Email dated September 26, 2014, from Anil Patel to    Patel 83                                 R&H
        David Reed and others re: VWC Shortage and
        fixing same
53.     Emails dated October 29-30, 2014 between David        Patel 84                                 R&H
        Reed, Tom Young and others re: correcting the
        elevation of curbs, gutters, sidewalks at the
        property and the costs for same (ACE733-ACE738)
54.     Email dated November 22, 2014, from David Reed        Patel 85                                 R&H
        to Tom Young re: narrative of delays from
        November and delay of opening from mid-
        November to late-December
55.     Emails dated December 4-6, 2014, between Charles      Patel 86                                 R&H
        Kimsey, David Reed, Anil Patel and others re: final
        push to get the project completed
56.     Email dated December 4-5, 2014, between Charles       Patel 81                                 R&H
        Kimsey and David Reed re: response to Anil Patel
        on final push to complete the project (largely the
        same email as in Ex. 86)
57.     Email dated November 22, 2014, from Charles                                                    R&H
        Kimsey to David Reed to Tom Young re: narrative
        of delays from November and delay of opening
        from mid-November to late-December
58.     Emails dated January 28-29, 2015, between David       Patel 89                                 R&H
        Reed, Charles Kimsey, Anil Patel and others re: the



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Exh.                 Document Description                     Depo         Date         Date          With or
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        trouble with getting the project open and
        completing the punch list
59.     Emails dated February 7, 2015, between Anil Patel,   Patel 90                                  R&H
        David Reed and others re: completing the corridors
        on the project in order to rent rooms at the hotel
60.     Emails from February 27-March 6, 2015 between        Patel 91                                  R&H
        Charles Kimsey, David Reed and others re: pricing
        for Marriott add on issues and who will complete
        that work
61.     OAC Monthly Meeting Minutes from June 25,            Patel 95                                  R&H
        2013 (ACE1819-ACE1506)
62.     AIA G701 Change Order 001 from K&K to Ace            Patel 98                                   R
        Hospitality, dated  December    10,  2012
        (K&K21404-K&K21405)
63.     AIA G701 Change Order 002 from K&K to Ace            Patel 99                                   R
        Hospitality, dated February 21, 2013 (K&K21411)
64.     AIA G701 Change Order 003 from K&K to Ace            Patel 100                                  R
        Hospitality, dated February 21, 2013 (K&K21412)
65.     AIA G701 Change Order 004 from K&K to Ace            Patel 101                                  R
        Hospitality, dated June 20, 2013 (K&K21413-
        K&K21414)
66.     AIA G701 Change Order 005 from K&K to Ace            Patel 102                                  R
        Hospitality, dated September    23,  2013
        (K&K21423-K&K 21424)
67.     AIA G701 Change Order 006 from K&K to Ace            Patel 103                                  R
        Hospitality, dated November 6, 2013 (K&K21433-
        K&K21434)
68.     AIA G701 Change Order 007 from K&K to Ace            Patel 104                                  R
        Hospitality, dated January 27, 2014 (K&K21435)
69.     AIA G701 Change Order 008 from K&K to Ace            Patel 105                                  R
        Hospitality, dated January 27, 2014 (K&K21436-
        K&K 21437)
70.     AIA G701 Change Order 009 from K&K to Ace            Patel 106                                  R
        Hospitality, dated March 24, 2014 (K&K21489)
71.     AIA G701 Change Order 010 from K&K to Ace            Patel 107                                  R
        Hospitality, dated June 23, 2014 (K&K21491-
        K&K 21492)



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                                                                                                      Objection

72.     AIA G701 Change Order 011 from K&K to Ace             Patel 108                                  R
        Hospitality, dated July 21, 2014 (K&K21540-K&K
        21541)
73.     AIA G701 Change Order 012 from K&K to Ace             Patel 109                                  R
        Hospitality, dated August 25, 2014 (K&K21544-
        K&K21545)
74.     AIA G701 Change Order 013 from K&K to Ace             Patel 110                                  R
        Hospitality, dated September    22,  2014
        (K&K21546-K&K 21547)
75.     AIA G701 Change Order 014 from K&K to Ace             Patel 111                                  R
        Hospitality, dated April 17, 2015 (K&K 21555-
        K&K21557)
76.     October 3, 2014 emails from Reed to Doughty                                                     R&H
        regarding distrust of Progressive $0 releases
77.     K&K’s List of Payments to Progressive Plumbing        Lawson 67
        on the Project, dated January 8, 2015.
78.     April 14, 2015, email from David Reed to Billy        Lawson 45
        Lawson re: update on outstanding change orders
        and additional documentation for same (attaches a
        K&K log of Progressive’s change orders and status
        of same)
79.     Unsigned Contract between Mazzeo Plumbing and
        Progressive   Plumbing     for    the  Project
        (Progressive/K&K 557 – Progressive/K&K 581)
80.     Revision 2: Addendum no. 2 ASI 04 of River Street                                                 ?
        Architecture, LLC, Project Specifications – Section
        22, dated August 3, 2010
81.     August 25, 2014, email between Bill Lawson and
        David Reed regarding tub and shower valves and
        alleged issues with same
82.     October 13, 2014 email between Reed and Greg re                                                 R&H
        sticking to specs, period.
83.     Kellogg & Kimsey’s proposed change order 044R                                                   R&H
        to Ace Hospitality (ACE109-ACE118)
84.     Emails dated April 2-7, 2014 between Greg              Mazzeo                                   R&H
        Schamberg, Terry Barker, and others re: design          251
        issues with tubs and vanity units in certain rooms
        on the Project (Progressive-KK-14013 –
        Progressive-KK-14015)

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                                                                                                      Objection

85.     September 25, 2014 email between Greg                                                           R&H
        Schamberg and David Reed regarding Trillium
        plumbers
86.     July 22, 2014 email between David Reed and            Lawson 43
        Krystin Newton re various change orders                 (part)
87.     Email dated June 12, 2014 from David Reed to Joe
        Uselton and others re: 8” sanitary and boiler
        location revision (K&K17462)


88.     Email dated November 26, 2014, from Greg
        Schamberg to Bill Lawson and others re:
        requirements for commercial washer delivery
        (K&K23322)
89.     September 25, 2014 email between Greg                                                           R&H
        Schamberg and David Reed regarding change order
        to Progressive for monitor device
90.     September 10, 2014 email between Ed Doughty and                                                 R&H
        David Reed regarding pay app
91.     Kellogg & Kimsey’s Subcontractor Draw Request         Doughty
        Reconciliation for Progressive Plumbing, shows          137
        amount of retainage withheld by Kellogg & Kimsey
        (K&K23204)
92.     Kellogg & Kimsey’s subcontract accounting             Doughty                                   R&H
        spreadsheet for Progressive Plumbing, created           128
        January 9, 2015, updated February 4, 2015, and
        May 20, 2015 (K&K12614)
93.     Kellogg & Kimsey’s subcontract accounting             Doughty                                   R&H
        spreadsheet for Progressive Plumbing, created           129
        January 8, 2015 (K&K23205-K&K23208)
94.     September 10, 2014, email from Ed Doughty to                                                    R&H
        David Reed re: recommendation to approve
        Progressive’s July pay app (K&K14117-K&K-
        14118)
95.     September 18, 2014 email between David Reed and                                                 R&H
        Billy Lawson re ordered monitoring device for CO
        15
96.     December 31, 2014 emails between Schamberg and                                                   H
        Billy regarding ansul valves and additional changes



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Exh.                  Document Description                    Depo      Date         Date          With or
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                                                                                                  Objection

97.      June 24, 2013, emails from Charles Kimsey and Ed                                           R&H
         Doughty re: Tennessee Prompt Pay Act and
         requirement to withhold 5% in retainage
         (K&K18210-K&K18213)
98.      Submittal P-27 – Corina Corner Lavatory                                                    R&H


99.      March 17, 2015, emails between Charles Kimsey                                              R&H
         and Terry Barker re: change order analysis and
         Barker’s questioning of same (K&K14431-
         K&K14432)
100.     March 17, 2015 emails between Charles Kimsey                                               R&H
         and Terry Barker re change orders
101.     First Amended Verified Complaint from Davidson
         County, Tennessee, for Progressive Plumbing, Inc.
         v. Kellogg & Kimsey, Inc., Concord Hospitality,
         Inc., and Ace Hospitality, Inc., Case No. 15-699-I
102.     June 25, 2014 email from David Reed to Krystin
         Newton re sinks not according to specs
103.     June 12, 2014, email from David Reed to Joe
         Uselton re: subcontract change directive for 8”
         sanitary and boiler location revision (K&K17462)
104.     Compilation of subcontractor meeting minutes                                               R&H
         where K&K warned subcontractors not to damage
         each other’s work (K&K24523-K&K24263)
105.     March 19, 2014, email from Greg Schamberg to
         PPI re: changes require moving water lines and
         adding two sinks (Progressive-KK-13978)
106.     April 17, 2014, email from Bill Lawson to K&K re:
         PCO #7 from Progressive (Progressive-KK-14041)
107.     April 9, 2015 document containing narrative of                                             R&H
         further details on PCO 10 (Progressive-KK-16948
         – Progressive-KK-16949)
108.     April 9, 2015, document with short narrative and                                           R&H
         detailed breakdown of PCO 15 amount
         (Progressive-KK-16941 – Progressive-KK-16942)
109.     April 9, 2015, document with short narrative and                                           R&H
         breakdown of amounts included in PCO 17
         (Progressive-KK-16945 – Progressive-KK-16946)


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Exh.                   Document Description                       Depo          Date         Date           With or
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                                                                                                           Objection

110.     April 9, 2015, document with narrative of 8”                                                        R&H
         sanitary line in boiler room needing to be relocated
         (Progressive-KK-16951 – Progressive-KK-16952)
111.     Compilation of K&K’s Superintendent’s Daily            Reed 188                                     R&H
         Reports
112.     Documents from Hospitality Plumbing, Inc.              Hospitality                                  R&H
         pertaining to Courtyard by Marriott – Nashville, TN        2
113.     October 24, 2014 email from Michael Sasso, Esq.                                                     R&H
         to David Reed attaching Demand Letter
114.     Sub Meeting Sign In Sheet July 9, 2013                                                               R
         (K&K24105 – K&K24107)
115.     OAC Meeting Agenda November 25, 2014                                                                R&H




       K&K asserts objections above as indicated. “R” is relevancy. “H” is heresay. “R&H” are both
       relevancy and hearsay. Documents marked with a “?” are documents which K&K has not had an
       opportunity to review and to which it objects on the basis of relevancy, hearsay, authenticity and
       any and all other grounds for objection that might be appropriate based on a full review. K&K
       reserves the right to revise same.




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